                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

WILLIAM PARRISH, individually and on )
behalf of all others similarly situated, )
                                         )
                Plaintiffs,              )
                                         )
v.                                       ) Civ. Act. No. 5:16-cv-00417-DAE
                                         )
PREMIER DIRECTIONAL DRILLING, L.P., )
                                         )
                Defendant.               )
                                         )



                PREMIER DIRECTIONAL DRILLING L.P.’S
       RESPONSE TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
         The question in this case is whether, as a matter of economic reality, Plaintiffs were in

business for themselves. Plaintiffs’ Motion for Summary Judgment, however, ignores their own

sworn deposition testimony, which shows their true economic independence. Plaintiffs

admittedly controlled every aspect of their work – from setting up their own consulting firms, to

accepting or rejecting jobs as they saw fit, to negotiating their rates, to purchasing necessary

tools and equipment, to managing their expenses, to filing taxes and writing off business

expenses. On these admissions alone, it is indisputable that Plaintiffs were independent

contractors. Tellingly, Plaintiffs cannot cite to a single case in which directional drillers were
found to have been improperly classified as independent contractors.

         Plaintiffs’ heavy reliance on a Consultant Agreement (rather than their own admissions)

to prove their case is unavailing. This agreement, entered into only by Parrish and not the others,

was not even applicable during the limitations period.1 Moreover, the agreement is between

Parrish and Directional Personnel (a staffing agency), not Premier Directional Drilling

(“Premier”). Even if it was applicable here, and it is not, Plaintiffs ignore that the agreement

plainly states: “Consultant [Parrish] is an independent contractor to Company [Premier]

and Service Provider [Directional Personnel]. Consultant is not entitled to employee benefits

provided for employees of Company or Service Provider. Consultant acknowledges it is an

independent contractor to Company and Service Provider[.]”2 Plaintiffs cannot prove they

were employees of Premier by relying on a contract that states they were independent contractors

of Directional Personnel. Plaintiffs’ reliance on the agreement is, in short, a red herring.

         Plaintiffs struggle to point to any interactions between Plaintiffs and Premier that could

evidence an employment relationship. They merely contend that Premier: interviewed them;

hired them; provided driving directions to the job site; and terminated their contracts. Indeed,

these examples underscore the complete absence of any employment relationship.


1
    Geoffroy Dep. at 39:10-16; Geoffroy Dec. ¶ 3; Oliver Dep. at 54:1-18.
2
    Parrish Dep. Ex. 7, ¶ 13 (emphases added).


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       Equally as weak is Plaintiffs assertion that Premier’s safety and quality control measures

evidence “employment” control. This argument misstates the law. It is common sense that safety

measures in the oilfield are required whether a worker is a contractor or an employee. And

independent contractors can be required to do good quality work without becoming employees.

Safety and quality control is not the kind of “control” that evidences an employment relationship.

As one court explained, “acceptance of the owner’s interpretation of the specifications, quality

control over the materials used, workmanlike performance, time requirements, and safety

standards are legitimate concerns . . . even though the contractor is, and remains an independent
business concern.”3 Plaintiffs cannot and do not cite any authority to the contrary.

       The scant evidence presented by Plaintiffs, coupled with their own admissions that they

were economically independent, makes it abundantly clear that Plaintiffs’ Motion for Summary

Judgment is frivolous. The undisputed material facts do not support Plaintiffs’ position. To the

contrary, the undisputed evidence shows that Premier is entitled to judgment as a matter of law.

                      ARGUMENT AND CITATION OF AUTHORITY
I.     PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT IS RIDDLED WITH
       FALSEHOODS AND UNSUPPORTED FACTS
       The record evidence points in only one direction – that Plaintiffs were in business for

themselves. Plaintiff’s Motion, however, rests on false statements, convenient omission of their

own admissions, and misrepresentations of the deposition testimony.4 While Premier cannot
address every misrepresentation, it will address the most egregious examples as follows.

       First, in attempting to minimize their investments in their own businesses, Plaintiffs claim

that “DDs spent hundreds of dollars per year (to be generous).” (Mot. at 10). This assertion

would surely come as a surprise to the IRS, with whom Plaintiffs filed tax returns claiming

hundreds of thousands of dollars in write-offs as business expenses. The indisputable evidence

shows that Plaintiffs spent an average of about $121,000 per year on their businesses:
3
 Ray v. Monsanto Co., 420 F.2d 915, 919 (9th Cir. 1970).
4
  In ruling on Plaintiffs’ Motion, the Court must take the facts in the light most favorable to
Premier. See, e.g., Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 601 (1986).


                                                 2
         YEAR                        PLAINTIFF                      BUSINESS EXPENSES5
2013                      Parrish                         $ 118,000
                          Parrish                         $ 115,000
2014
                          Ellestad                        $ 200,000 (approx.)
                          Beckett                         $ 194,295 annualized ($ 64,765 actual)
                          Parrish                         $ 132,000 annualized ($ 33,000 actual)
2015
                          Ellestad                        $ 87,000
                          Alfaro                          $ 519,948 annualized ($ 43,329 actual)
                          Beckett                         $ 91,065 annualized ($ 30,355 actual)
Plaintiffs’ claim that they invested “hundreds of dollars per year (to be generous)” is a blatant

misrepresentation of the record evidence.

       A second example is Plaintiffs’ assertion that “[t]here is no evidence of any one of

Plaintiffs ever negotiating his rate of pay or turning down a job.” (Mot. at 11). Again, this

statement is false. Named Plaintiff William Parrish testified that he negotiated his pay:
       Q.       Did somebody tell you that you weren’t allowed to ask for more money?
       A.       I had did – I did ask for more money at different points of time for,
                like, the first time when I went to working my first day job – or after I
                completed my first day job, which I didn’t get. And then another time after
                these rates changed and there was something came out that I had talked to
                another coordinator about saying, well, I’m already this level of DD, so
                my pay should be this. And it’s not, it’s this.6
And Mr. Parrish also testified, contrary to Plaintiffs’ Motion, that he in fact rejected jobs:
       Q.       I think it was your – your testimony earlier that you have – you have never
                turned down a job that was offered to you by Premier; is that right?
       A.       I – I’ve never turned down a job. There has been just times where I
                couldn’t physically be there. If I was on days off, out of town with my
                family and they called and said, hey, I need you to go here, someone
                needs to fill in, there’s just been times where I couldn’t make it. But if
                I was home doing nothing I never turned down a job.
       Q.       Okay. And when you had something else going on or some – some reason
                that you couldn’t take the job, did you –
       A.       There was probably like two or three times. Very – a handful of times
                where I might have been out of town and just physically not there to go.
       Q.       Got it. Did you – did you still get called for – when another job came up –
       A.       Yes.7
5
  Parrish Dep. at 40:15-41:6, Exs. 3-5; Alfaro Dep. at 104:5-13, Ex. 2 p.5; Beckett Dep. at 74:9-
15, 81:24-82:1, Exs. 4, 5; Ellestad Dep. Exs. 4-5.
6
  Parrish Dep. 140:19-141:4 (emphasis added).
7
  Parrish Dep. 134:10-135:4 (emphasis added).


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       Perhaps the most egregious factual misrepresentations concern the Directional Personnel

Consultant Agreement. For example, Plaintiffs argue that “they couldn’t bring in any business

since Premier’s Consultant Agreement made them surrender any ability to market themselves

and appoint Premier as their exclusive ‘Marketing Agent.’” (Mot. at 12). None of that is true:
          The Directional Personnel Consulting Agreement is not Premier’s. Parrish entered
           into this Agreement with Directional Personnel, a third party Parrish used to receive
           notice of available jobs. (Mot., Ex. 2, ¶ 1; Geoffroy Dec. (Doc. No. 158-11) at ¶ 3.)

          The “Service Provider” that is designated as the “Marketing Agent” is Directional
           Personnel – not Premier. (Mot., Ex. 2, para. 1).

          The Marketing Agent is not exclusive – this is pure fiction. The Agreement states that
           “Consultant [Parrish] has agreed that Service Provider [Directional Personnel] is
           Marketing Agent[.]” (Mot., Ex. 2, ¶ 6). It says nothing about exclusivity; Plaintiffs
           were free to market to whoever they chose.

          Moreover, the only Plaintiff to sign the Directional Personnel Consulting Agreement
           was Parrish; none of the other Plaintiffs signed that agreement. (Parrish Dep. Ex. 7;
           Geoffroy Dep. at 39:10-16; Geoffroy Dec. ¶ 3; Oliver Dep. at 54:1-18.)

          Plaintiffs fail to mention that the Directional Personnel Consulting Agreement on
           which they rely was signed before the limitations period. During the limitations
           period, Inpetro’s Mutual Non-Disclosure and Confidentiality Agreement applied. It
           said nothing about “marketing agents” and does not even mention “exclusivity” or
           any prohibition on bringing in business or working for other companies. To the
           contrary, Inpetro’s agreement stated: “Contractor is an independent contractor.
           Nothing in this Agreement shall create or be deemed to create the relationship of
           employer/employee[.]” (Mot., Ex. 4, ¶ 11 (emphasis added)).
       Plaintiffs also falsely claim that the Directional Personnel Consulting Agreement contains

a “non-compete clause.” (Mot. at 6). It does not. The language to which Plaintiffs refer is: “If

Consultant [Parrish] were to leave Service Provider [Directional Personnel] prior to the

conclusion of the specific job or project, then Consultant agrees not to work with or provide

service to Company [Premier], either directly or indirectly through another firm.” (Parrish Dep.

Ex. 7, ¶ 6.) This is not a noncompete clause like an employee might sign. Rather, it is an

agreement in which a staffing agency asks the person receiving placement services (Parrish) not

to cut out the middle-man and work directly for the staffing agency’s client (Premier), at least

until the current project is finished. There is nothing about this clause that suggests Premier

exercised such control over Plaintiffs that they ceased to be independent contractors.



                                                4
       Plaintiffs also misrepresent the testimony of Vice President Ward Geoffroy when they

claim he testified that Premier “swapped” (i.e., merely changed titles or status) employee DDs to

independent contractor status. (Mot. at 7). Mr. Geoffroy was clear that there were no mere

changes in titles or status – Plaintiffs were laid off, and chose to go into business for themselves:
       Q.      You understand that he [Alfaro] was swapped from employee to contract?
       A.      No. . . . I know he was laid off because work slowed down.
       Q.      Okay.
       A.      And he was told that if he – if something came up if he was a contract
               hand – at the time we need – if we need a hand, we would work him.8
Former DD Coordinator Casin Oliver – who actually filled out the document containing the term

“swap” that Plaintiffs rely so heavily upon – was directly asked “if there was a reduction of …

workforce … because times were slow, Premier would swap them over to contract, correct?”, to

which Mr. Oliver answered unequivocally “No.” (Oliver Dep. 33:19-24). In fact, Mr. Oliver

went on to explain the document he filled out:
       What is actually happening is they were being laid off. And when I laid them off,
       I called them and – they were laid off; and they had an option of if we had any
       work come available, then they could get their contract stuff filled out and be
       ready to go if something came up.9
In short, Plaintiffs’ claim that IC DDs had a mere status change is contradicted by the record.
II.    PLAINTIFFS WERE ECONOMICALLY INDEPENDENT CONTRACTORS
       To be entitled to summary judgment on their overtime claims, Plaintiffs must first prove

that they were employees, not independent contractors.10 The Fifth Circuit has framed the

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  Geoffroy Dep. 35:11-19. Geoffroy further testified that the document to which Plaintiffs point
as evidence of “swapping” contained a semantics error. (Geoffroy Dep. at 46:14-18) (“All I can
say is to my opinion Casin [Oliver] put the wrong thing on there.”)
9
   Oliver Dep. 73:22-74:2. Other witnesses testified similarly: Office Manager Bonnie Selby
testified that “They were never swapped to contract. They had an opportunity. . . . When they
were laid off for lack of work, they had an opportunity to be a contract hand for any company.”
(Selby Dep. 78:22-79:2). Premier’s CFO stated, “[a]fter being laid off from Premier, Mario
Alfaro and Michael S. Robbins chose to go into business for themselves and offer to work
projects for Premier on an as-needed basis.” (Schmidt Dec. ¶ 13 [Doc. No. 158-10]).
10
   Chapman v. A.S.U.I. Healthcare of Texas, Inc., No. H-11-3025, 2012 WL 3614187, at *2
(S.D. Tex. Aug. 21, 2012) (citing Fontenot v. Upjohn Co., 780 F.2d 1190, 1194 (5th Cir. 1986));
Kalferty v. Pulse Drug Co., Inc., 821 F.2d 261, 264 (5th Cir. 1987); Weisel v. Singapore Joint
Venture, Inc., 602 F.2d 1185, 1188 (5th Cir. 1979).


                                                  5
question as “whether the individual is, as a matter of economic reality, in business for himself.”11

To answer that question, courts in the Fifth Circuit look to five factors: (1) control over the

details of work performance; (2) the independent contractor’s investment in his own business;

(3) the permanency of the relationship; (4) the skill and initiative required; and (5) the degree to

which the worker controls his profit or loss.12 Not all factors must weigh in favor of independent

contractor status for the worker to be an independent contractor as a matter of law.13

       The Court need not look further than Plaintiffs’ own admissions to grant summary

judgment in favor of Premier. Plaintiffs admittedly had their own corporations, including V.

Hughes Services, LLC; Parrish Consulting, LLC; and JD Ellestad, Inc.;14 claimed that they had
their own business on their tax returns and wrote off hundreds of thousands of dollars (id.);

worked only on a project-by-project basis with lengthy breaks in between;15 were highly skilled,

commanding large daily rates of up to $1,400, which was more than directional driller employees

could earn;16 could reject jobs;17 and could work for other companies besides Premier.18

        A.     Premier Did Not Control the Details of Plaintiffs’ Work

               1.      Premier Did Not “Assign” Work or “Supervise” Plaintiffs

       Plaintiffs’ incorrectly assert that “Premier assigned IC DDs to its job sites for its clients.”


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   Carrell v. Sunland Construction, Inc., 998 F.2d 330, 332 (5th Cir. 1998).
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   See Carrell v. Sunland Constr., Inc., 998 F.2d 330, 332-33 (5th Cir. 1993).
13
   Carrell, 998 F.2d at 334; Thibault v. Bell S. Tele. Inc., 612 F.3d 843, 846 (5th Cir. 2010).
14
   Parrish Dep. 82:11-83:25, Exs. 1, 3, 5; Ellestad Dep. 44:20-21, Ex. 3-5; Alfaro Dep. 88:5-11,
138:13-22, Ex. 2.
15
   Parrish Dep. 62:5-15, 128:16-129:1, Ex. 9; Ellestad Dep. 25:4-13, Ex. 6; Oliver Dep. 50:6-17;
Geoffroy Dep. 96:16-19; Mims Dec. ¶ 8.
16
   Parrish Dep. 138:3-5, 139:7-11, 140:3-12; Alfaro Dep. 152:7-11, 154:20-24; Beckett Dep.
115:24-116:2; Ellestad Dep. 178:5-13, Ex. 13; Robbins Dep. Ex. 6.
17
   Parrish Dep. 134:10-135:5, 216:4-23, 248:11-21, 253:13-254:1; Alfaro Dep. 151:19-154:4;
Beckett Dep. 43:3-9; Ellestad Dep. 80:20-81:11, 135:14-16; Geoffroy Dep. 93:18-20; Kennedy
Dep. 75:16-76:11; Oliver Dep. 66:4-7; Menard Dep. 264:4-22; Menard Dec. ¶ 3; Mims Dec. ¶ 3.
18
   Parrish Dep. at 129:2-21; Menard Dep. at 259:15-25; Alfaro Dep. at 197:17-22; Ellestad Dep.
at 71:25-72:6; Beckett Dep. at 130:13-22; Selby Dep. at 21:24-22:1; Kennedy Dep. at 75:16-25;
see also Mims Dec. ¶ 4; Schmidt Dec. ¶ 12.


                                                 6
(Mot. at 7) (emphasis added). Plaintiffs do not and cannot cite to any evidence that supports this

claim because it is contradicted by the undisputed evidence. As Parrish admitted, he was free to

reject projects when he chose.19 One DD Coordinator explained that there were no assignments

when it came to independent contractors: “An employee actually works for the company, and

they get told where to go and how to work and all that good stuff. A contractor can actually turn

down work or turn down projects or what have you.”20

       Plaintiffs’ claim that Premier’s coordinators “supervised” the details of Plaintiffs’ work is

also unsupported by the record. (Mot. at 7). Former DD Coordinator Casin Oliver explained

what the term “supervise” meant with regard to coordinators: “I’m not really supervising the

directional drillers. I am over the – the certain jobs and send tools to those jobs . . . And I’m here

for like help or guidance, if – if they run into any issues.”21 Plaintiffs do not cite to any
contradictory evidence. Instead, they argue that the DD Coordinators: “interviewed” them,

“hired” them, gave them directions to the job site, “terminated” their “relationship”; and

provided them with the “well plan”. (Mot. at 7). To say that these things amount to supervision is

preposterous. No one would have a builder build an extension on their home without first

interviewing the builder to figure out whether he was qualified, hiring the builder, telling the

builder where the house was, describing the plans for the extension, and then checking in to

make sure the work was progressing. It would be a total abdication of common sense to find that

these basic steps constitute control sufficient to transform someone into an “employee.”

       Plaintiffs’ other allegations of “supervision” fare no better. For example, Plaintiffs claim

Premier supervised Ellestad and Alfaro by “swapping” them to contract status. (Mot. at 7). First,

no employee ever underwent a mere title or status change, as Plaintiffs suggest; rather, Ellestad

and Alfaro were terminated due to lack of work and had the option of going into business for



19
   Parrish Dep. at 134:10-135:5, 216:4-23, 248:11-21, 253:13-254:1
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   R. Menard Depo. 327:24-328:3
21
   Oliver Dep. at 20:12-17.


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themselves.22 Second, even if true, changing pay methods says nothing about control over the

method and manner in which Plaintiffs performed their work, which is what matters.23 Plaintiffs

also claim that they were “controlled” because they had to submit requests for time off. (Mot. at

7). But this is contrary to the record.24 In fact, Parrish testified that if he had something else he

would rather do than work, he simply turned down the project.25 And again, this says nothing

about the kind of control that matters, control over the method and manner of work

performance.26 Finally, Plaintiffs argue that they were required to follow Premier’s “policies and

procedures.” (Mot. at 7). But Plaintiffs do not describe what those “policies and procedures”
were, much less offer proof that they were required to follow them or that those procedures

resulted in Premier controlling the method and manner in which they performed their work.
               2.      There Is No Contract that Controls the Details of Plaintiffs’ Work
       Plaintiffs’ first argument for contractual control is a hyperbolic statement that Premier

controlled “everything Plaintiffs did, including on location, through its Master Services

Agreements … with Premier’s clients.” (Mot. at 5-6). But beyond this bald assertion, Plaintiffs

identify nothing in the Master Services Agreements that gives Premier any right to control

Plaintiffs in any way. (Mot., Ex. 38). Premier’s warranty to its customer that it would “meet the

quality and performance standards set forth by the client” does not prove that Premier controlled

Plaintiffs’ day-to-day work, even if Plaintiffs were somehow bound by Premier’s contract with

its client. As one circuit court held, a “standard quality assurance provision by which the

[putative employer] reserves the right to determine whether it is satisfied with the services it is



22
   Schmidt Dep. II at 38:11-25, 64:14-18, 67:15-20; Geoffroy Dep. at 35:11-36:2; Selby Dep. at
78:16-79:9; Oliver Dep. at 33:19-34:16; Schmidt Dec. ¶ 13.
23
   Thibault v. Bellsouth Commun’s, Inc., 612 F.3d 843, 846-47 (5th Cir. 2010) (finding lack of
control where putative employer “never specified how Thibault should do the splicing . . . [It]
was up to Thibault to go out and fix the problem.”).
24
   Menard Dep. at 53:2-54:6, 56:3-57:4, 62:5-17; Oliver Dep. at 86:16-25.
25
   Parrish Dep. at 251:10-22, 253:13-254:1.
26
   Thibault, 612 F.3d at 846-47.


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purchasing under the contract” is entirely consistent with independent contractor status.27

       Plaintiffs’ next argument is based on the Directional Personnel Consultant Agreement,

which, as noted above, predates the limitations period and was not signed by any Plaintiff but

Parrish. Moreover, Plaintiffs’ claim that Paragraph 1 of the agreement “obligated the DDs to

follow the policies and procedures of the oilfield services companies to which Premier assigned

them” is not true. Paragraph 1 states that the contractor will provide services “under terms and

conditions set out severally in a Master Service Agreement, Country Agreement or Work Order”

with Premier. (Mot., Ex. 2, ¶ 1). But there is no reference to “policies and procedures” or any

control over the details of work in the Master Service Agreement. (Mot., Ex. 38).

       Next, Plaintiffs claim the contracts somehow “limited DDs’ ability to work for other

companies.” (Mot. at 6.) As an initial matter, no contract says this – neither the Directional

Personnel Consultant Agreement nor the Inpetro Confidentiality Agreement has any restriction

on Plaintiffs’ ability to work for whoever they wanted. (Parrish Dep. Ex. 7; Ellestad Dep. Ex. 2.)

       Moreover, even if there were such a restriction in the contracts – and there is not – the

indisputable evidence shows that Plaintiffs could nevertheless work for other companies,

including Premier’s competitors.28 Plaintiff Ellestad’s consulting firm, JD Ellestad, Inc., also
operated a goat farm, for example. (Ellestad Dep. 41:24-42:11, 56:16-57:7.) Thus, the Fifth

Circuit’s holding in Brennan v. Partida is directly applicable: “[i]t is not significant how one

‘could have’ acted under the contract terms. The controlling realities are reflected by the way one

actually acts.”29 There is no evidence that Plaintiffs were ever prevented from working for



27
   Duplan v. Harper, 188 F.3d 1195, 1201 (10th Cir. 1999); see also Jacobson v. Comcast Corp.,
740 F. Supp. 2d 683, 690 (D. Md. 2010) (“Indeed, detailed instructions and close monitoring are
key components in many independent contractor and franchise relationships.”).
28
   Parrish Dep. at 129:2-21; Menard Dep. at 259:15-25; Alfaro Dep. at 197:17-22; Ellestad Dep.
at 71:25-72:6; Beckett Dep. at 130:13-22; Selby Dep. at 21:24-22:1; Kennedy Dep. at 75:16-25;
see also Mims Dec. ¶ 4; Schmidt Dec. ¶ 12.
29
   492 F.2d 707, 709 (5th Cir. 1974); see also Hopkins v. Cornerstone America, 512 F. Supp. 2d
672, 691 (N.D. Tex. 2007) (“it’s not what the parties ‘could have done’ that counts, but as a
matter of economic reality what they actually do that is dispositive.”).


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another company besides Premier; they were free to sell their services to whoever they wanted.30
             3.     Safety and Quality Control Requirements Are Not Evidence of
                    Control over the Details of Plaintiffs’ Work Performance
       Plaintiffs argue that they were “controlled” by Premier because they were subjected to a

background check and drug test, and attended safety training. (Mot. at 7-8). But these are merely

safety requirements, and safety requirements have nothing to do with independent contractor

status. Plaintiffs’ argument to the contrary contradicts persuasive authority across the country.

See, e.g., Moreau v. Air France, 356 F.3d 942, 951 (9th Cir. 2004) (“ensuring compliance with

safety and security regulations” is “qualitatively different” from employment control).31

       Plaintiffs also argue that they were required to follow Premier’s “policies and

procedures.” (Mot. at 2.) However, Plaintiffs fail to identify the “policies and procedures” they

are referring to, and further fail to disclose that the only arguable “policies” identified during

discovery relate to quality control paperwork. But agreeing to do a good job and submit

documentation as requested does not make one an employee; every independent contractor does

that. Jacobson, 740 F. Supp. 2d at 691-92 (“detailed instructions and a strict quality control

mechanism will not, on their own, indicate an employment relationship”); Taylor v. Waddell &

Reed, Inc., No. 09-cv-2909-AJB, 2012 WL 3584942, at *5 n.9 (S.D. Cal. 8/20/12) (“compliance

with legal requirements is not indicative of control for purposes of establishing the employer-

employee relationship”). As one court noted, “quality control and compliance-monitoring that

stem from the nature of the business … are qualitatively different from control that stems from

the nature of the relationship between the employees and the putative employer.”32

       Conspicuously absent from Plaintiffs’ Motion is any evidence of control related to actual


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   Parrish Dep. at 129:2-21; Menard Dep. at 259:15-25; Alfaro Dep. at 197:17-22; Ellestad Dep.
at 71:25-72:6; Beckett Dep. at 130:13-22; Selby Dep. at 21:24-22:1; Kennedy Dep. at 75:16-25;
see also Mims Dec. ¶ 4; Schmidt Dec. ¶ 12.
31
   See also Gate Guard Services, LP v. Solis, No. v-10-91, 2013 WL 593418, *6 (S.D. Tex.
2/13/13) (quality control measures do not indicate employment); Lawrence v. Adderly Indus.,
Inc., No. CV-09-2309, 2011 WL 666304, at *8 (E.D.N.Y. 2/11/11).
32
   Zampos v. W&E Comm’ns, Inc., 970 F. Supp. 2d 794, 804 (N.D. Ill. 2013).


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work performance. It is undisputed that Plaintiffs were not supervised on a day-to-day basis.33

They received no work-related training, performance reviews, or discipline from Premier.34

Indeed, Premier’s former DD Coordinator, Casin Oliver, testified that Premier did not even have

a “set way that it wanted its directional drillers to perform their jobs.” (Oliver Dep. 83:23-84:2).

In short, Plaintiffs had the kind of freedom that comes with being in business for themselves.
        B.     Plaintiffs Made Substantial Investments in Their Businesses
       In determining independent contractor status, courts analyze the investments workers

make in their businesses because the ultimate question is whether, as a matter of economic

reality, the workers are in business for themselves.35 The more an individual invests in his own

business, the more likely that individual is to be an economically independent contractor.

       Plaintiffs’ claim that they spent only hundreds of dollars per year, and invested only in

the same types of things that employees invest in, is contradicted by the record. (Mot. at 10).

According to their tax returns, Plaintiffs did not just invest in tally books, calipers, calculators,

and personal protective equipment; they also invested in vehicles, computers, office space,

insurance, internet service, office equipment (printers, copiers, etc.), and travel/entertainment

expenses.36 Plaintiffs spent about $121,000 per Plaintiff on an annualized average. In Carrell v.

Sunland Constr., Inc., the welders supplied their own trucks, equipment, maintenance costs,

lodging, meals, and insurance – an investment of $19,000. 998 F.2d 330, 333 (5th Cir. 1993). In

Gate Guard, the plaintiffs supplied their own vehicles, maintenance, utilities, cell phones, safety

equipment, lodging, and food, investing up to $72,000 in their businesses. 2013 WL 593418 at

*7. In both those cases, the plaintiffs – who made similar kinds of investments, but to a far lesser


33
   Parrish Dep. 131:15-133:1; Ellestad Dep. 123:23-124:2, 169:3-6; Robbins Dep. 123:6-20;
Beckett Dep. 127:10-21; Menard Dec. ¶ 12.
34
   Parrish Dep. 54:14-55:10, 232:3-11, Ex. 6; Ellestad Dep. 13:4-17, 168:15-169:6, Ex. 8;
Robbins Dep. 30:16-18, 42:6-9, 131:18-24, Ex. 2; Alfaro Dep. 111:14-112:13, Ex. 3; Beckett
Dep. 19:1-20:17, 132:16-22, Ex. 1; Menard Dep. 169:23-25; Oliver Dep. 50:2-5.
35
   Carrell, 998 F.2d at 332 (“Essentially, our task is to determine whether the individual is, as a
matter of economic reality, in business for himself.”)
36
   Parrish Dep. Exs. 1, 3, 5; Alfaro Dep. Ex. 2; Beckett Dep. Exs. 4, 5; Ellestad Dep. Exs. 3-5.


                                                 11
extent than Plaintiffs here – were found to be in business for themselves.37

       Attempting to distract from their own investments, Plaintiffs focus on Premier’s

investment in its business. (Mot. at 8-10). But Premier obviously is an independent business

entity – that is not the question; the question is whether Plaintiffs are in business for themselves

as a matter of economic reality.38 For example, Target Corp. has invested hundreds of millions of

dollars in its stores; this does not make the small businesses it hires to provide janitorial services

any less of an independent contractor. In Carrell the defendant had an “obviously significant”

investment in its business, but the plaintiffs’ investments in their own businesses ($19,000) were

significant enough to show that they were, as a matter of economic reality, in business for

themselves.39 In Thibault, the Fifth Circuit noted that the alleged employer’s investment may be
“recognized,” but was not the focus of the inquiry; in fact, the employer’s overall investment in

its business was deemed irrelevant.40 And in Gate Guard, the court did not even mention the

alleged employer’s overall investment in its business.41 In short, under Fifth Circuit case law,

Plaintiffs’ excessive focus on Premier’s overall investment in its business is a red herring.

       To the extent Premier’s investments are at all relevant to the question of whether

Plaintiffs were in business for themselves, it can only be Premier’s investment in the specific

projects for which Plaintiffs were retained that matters.42 And that investment was at most just
37
   Plaintiffs’ citation to Brock v. Superior Care, Inc., 840 F.2d 1054 (2d Cir. 1988) and Chapman
v. ASUI Healthcare, 2012 WL 3614187, is unavailing. First, Plaintiffs do not cite to those cases
for the investments factor. (Mot. at 8). Second, the cases are distinguishable. In Brock, the
plaintiffs’ investment was “negligible.” 840 F.2d at 1059. And in Chapman, the plaintiffs’
(nurses) investment was limited to the cost of their uniforms. 2012 WL 36145187 at *5.
38
   Carrell, 998 F.2d at 332 (citing Donovan v. Tehco, Inc., 642 F.2d 141, 143 (5th Cir. 1981)).
39
   Carrell, 998 F.2d at 333.
40
    See Thibault, 612 F.3d at 847 (stating “[t]he court in Carrell ‘recognized’ the overall
investment by the alleged employer, but did not focus on it…”).
41
   Gate Guard, 2013 WL 593418 at *7 (court did not even refer to Gate Guard’s overall
investment, focusing solely on project-specific investments)
42
  See Thibault, 612 F.3d at 847 (court should “compare[] the amount the alleged employer and
employee each contribute to the specific job the employee undertakes”); see also Trahan v.
Honghua Am., LLC, No. H-11-2271, 2013 WL 2617894, *7 (S.D. Tex. 6/10/13) (investment
factor focuses on “the specific job”); Faulkner v. Patters-UTI Drilling Co., No. 6:12-cv-104,
2014 WL 12567150, *4 (E.D. Tex. 1/30/14) (court looks at investments “in the job at hand”).


                                                 12
$6,526 for a laptop and software.43 Plaintiffs provided all the other project-specific costs,

including vehicles, repairs, food, clothes, and consumable and reusable equipment, to the tune of

about $121,000 annually.44 Thus, this factor weighs in favor of independent contractor status.

        C.     Plaintiffs’ Work Was Short-Term and on a Project-to-Project Basis

       Under the permanency factor, the question is whether Plaintiffs worked on a project-to-

project basis.45 The permanency factor weighs in favor of employee status only when “work is

done continuously and for a long period of time.”46 Here, the undisputed evidence shows that

Plaintiffs did not work continuously for a long period of time; they worked on a project-to-

project basis.47 Plaintiffs admittedly: (1) often had up to several weeks off between projects;48 (2)
were free to accept or decline projects;49 (3) were not guaranteed future work;50 (4) could find

their own replacements;51 and (5) controlled their own schedule by choosing which jobs to

accept.52 Plaintiffs could also do other work between Premier projects.53


43
   Schmidt Decl. at ¶¶ 10, 11, Exs. 1, 2. Notably, this ignores the fact that Premier reused laptops
and software for multiple projects, making the project-specific cost much less than $6,526. See
Gate Guard, 2013 WL 593418 at *7
44
   Parrish Dep., Exs. 1, 3, 5; Ellestad Dep., Exs. 3, 4; Alfaro Dep., Ex. 2; Beckett Dep., Ex. 4.
45
   See Thibault, 612 F.3d at 846; Carrell, 998 F.2d at 332; Mack, 2012 WL 1067398 at *4-6.
46
   Chapman, 2012 WL 3614187 at *6 (emphasis added).
47
    Parrish Dep. 129:2-21; Alfaro Dep. 197:17-22, 220:20-221:3; Beckett Dep. 130:13-22;
Ellestad Dep. 71:25-72:6; Geoffroy Dep. 34:21-36:2, 80:11-23, 99:11-12.
48
   Parrish Dep. 62:5-15, 128:16-129:1, Ex. 9; Ellestad Dep. 25:4-13, 76:11-77:21, 82:11-19,
83:5-18, Ex. 6.
49
   Parrish Dep. 134:10-135:5, 216:4-23, 248:11-21, 253:13-254:1; Alfaro Dep. 151:19-154:4;
Beckett Dep. 43:3-9; Ellestad Dep. 80:20-81:11, 135:14-16; Geoffroy Dep. 93:18-20; Kennedy
Dep. 75:16-76:11; Oliver Dep. 66:4-7; Menard Dep. 264:4-22; Menard Dec. ¶ 3; Mims Dec. ¶ 3.
50
   Parrish Dep. 62:5-15, 128:16-129:1, Exs. 9, 17; Alfaro Dep. Ex. 10; Beckett Dep. Ex. 13;
Ellestad Dep. 25:4-13, 82:11-83:18, 168:11-14, Exs. 6, 12; Robbins Dep. 120:7-10.
51
   Parrish Dep. 207:18-209:7; Menard Dep. 171:11-172:5.
52
    Parrish Dep. 254:13-256:2, Ex. 33; Beckett Dep. 145:22-146:7; Alfaro Dep. 220:20-23;
Geoffroy Dep. 35:20-36:2; Schmidt Dep. II at 76:7-10; Oliver Dep. 86:16-25, 112:4-12, 117:18-
14. See Talbert, 405 F. App’x at 856 (plaintiff was independent contractor where she “ultimately
controlled the number of hours she worked.”).
53
   Parrish Dep. 129:2-21; Menard Dep. 259:15-25; Alfaro Dep. 92:11-93:2, 197:17-22; Beckett
Dep. 130:13-22; Ellestad Dep. 56:16-57:7, 71:25-72:6, Ex. 3; Robbins Dep. 127:25-128:21.


                                                 13
       Plaintiffs misinterpret the Mr. W. Fireworks case because they fail to recognize that the

Fifth Circuit was dealing with seasonal workers who could work only during Texas’ two

fireworks seasons.54 In substituting the word “transient” in their Motion where the Fifth Circuit

was focusing on “seasonal” workers, Plaintiffs render Mr. W Fireworks inconsistent with the

more recent Fifth Circuit cases of Thibault and Carrell. In both Carrell and Thibault, the

workers were “transient” but not “seasonal” because they were hired on a project-by-project

basis.55 As the Fifth Circuit recognized in Carrell and again in Thibault, the question is not, as

Plaintiffs put it, whether the worker stayed for the duration of a project, but whether the nature of

the work was project-to-project in the first place.56 Where the nature of the work shows a
“temporary, project-by-project, on-again-off-again relationship” with the putative employer, the

factor weighs in favor of independent contractor status.57

       Even if the Court were to examine the time between the first project and the last project,

Plaintiffs still had short-term, temporary relationships with Premier. Robbins contracted with

Premier for only four days; Alfaro contracted with Premier a few times over the course of just

two months; Beckett provided services to Premier over the course of only seven months; and

Ellestad provided services over the course of ten months.58 Several courts in the Fifth Circuit

have found that similar short-term, temporary work – where the contracting period ranged from

three weeks to up to 20 months – weighs in favor of independent contractor status.59
54
   814 F.2d at 1045 (“The fireworks business is by nature seasonal[.]”).
55
   Carrell, 998 F.2d at 332 (“Sunland hired the Welders on a project-by-project basis”); Thibault,
612 F.3d at 846 (“Splicers travel from job-to-job and from state-to-state looking for work.”).
56
   998 F.2d at 334 (plaintiffs worked “from job to job”); see also Mack, 2012 WL 1067398 at *4-
6 (independent contractors “were hired on a job-by-job basis”, worked “off and on”, could work
for other companies, and could reject projects); Gate Guard, 2013 WL 593418 at *10-11(same).
57
   See, e.g., Thibault, 612 F.3d at 849 (focusing on whether workers had “temporary, project-by-
project, on-again-off-again relationship with their purported employer”).
58
   Parrish Dep. 11:4-5, 21:22-24, 41:14-16; Alfaro Dep. 102:2-6; Beckett Dep. 114:1-5; Ellestad
Dep. 86:25-87:3; Robbins Dep. 17:16-18:24. Alfaro’s and Robbins’ tenure with Premier as
employees is irrelevant to the permanency of their relationship as independent contractors.
59
   See Mack, 2012 WL 1067398 at *5 (average of nine to 20 months); Carrell, 998 F.2d at 332
(three to sixteen weeks); Lindsley v. Bellsouth Telecomms., Inc., 401 F. App’x 944, 945 (5th Cir.
2010) (three months); Gate Guard, 2013 WL 593418 at *10 (average of four months).


                                                 14
        D.     Plaintiffs Were Highly Skilled and Demonstrated Significant Initiative

       To illustrate skill indicative of an independent contractor relationship, the worker must

possess a “unique skill set” or an “ability to exercise significant initiative in the business.”60 It is

only “routine work which requires industry and efficiency [that] is not indicative of

independence and nonemployee status”.61

       Plaintiffs assert that they lacked the skills and initiative indicative of economic

independence because “Premier could not identify any unique skill or initiative.” (Mot. at 13).

But this is the wrong standard; Plaintiffs are “required to produce evidence that [they] could not
‘exert initiative in the operation of [the] business.’”62 They have not even attempted to do so.

       The undisputed evidence, as Premier pointed out in its Motion for Summary Judgment

[Doc. No. 163], shows that Plaintiffs exercised skill and initiative. In fact, the entire raison d’etre

of directional drillers is their special skill set, which allows them to advise the driller on how to

purposefully bend the wellbore to the target. (Alfaro Dep. 230:10-231:3; Menard Dec. ¶ 14;

Mims Dec. ¶ 16.) Plaintiffs needed to be able to “analyz[e] well plans and gamma markers to

maximize time spent in the production zone.”63 This, in turn, required a “[s]ound mathematical

background in directional drilling operations.” (Id.) Plaintiff must also have the skills needed for

the formation that is being drilled.64 Plaintiffs gained these skills through specialized on-the-job

training and experience. (Id.; Parrish Dep. 47:23-25, 51:20-52:1, 54:14-55:10, Ex. 6.)

       As owners of their own consulting firms, Plaintiffs also exercised initiative in finding and

ensuring revenues continued, controlling costs, and handling the administrative aspects of



60
   Hopkins v. Cornerstone America, 545 F.3d 338, 345 (5th Cir. 2008).
61
   Usery v. Pilgrim Equip. Co., 527 F.2d 1308, 1314 (5th Cir. 1976).
62
   Eberline v. Media Net, LLC, 636 F. App’x 225, 229 (5th Cir. 2016) (quoting Hickey v. Arkla
Indus., Inc., 699 F.2d 748, 752 (5th Cir. 1983)).
63
   Alfaro Dep. Ex. 3; Beckett Dep. Ex. 1.
64
   Parrish Dep. 56:5-22, 60:13-17, 61:17-25, 155:8-24; Alfaro Dep. 222:6-24; Beckett Dep.
31:18-33:1, Ex. 1; Ellestad Dep. 23:17-20, 165:16-166:8, Ex. 8; Robbins Dep. 80:20-24, Ex. 2;
Schmidt Dep. II at 61:18-22, 69:9-13; Menard Dec. ¶¶ 14-15; Mims Dec. ¶¶ 16, 18.


                                                  15
business ownership, such as setting up separate business entities and filing taxes.65 There is

simply little question that Plaintiffs were in business for themselves. Indeed, in a recent case, the

Fifth Circuit held that workers showed the initiative of an independent contractor when they –

like Plaintiffs – could obtain more work for themselves, and decide which days to work.66

       Instead of rebutting those facts, Plaintiffs argue that they were not independent

contractors because they were not more skilled than employee DDs at Premier. (Mot. at 13). But

the question is not who has more skills, for surely an independent contractor does not become an

employee just because the company hires an employee with a higher skill level. Rather, the

question is “whether the worker exhibits the type of skill and initiative typically indicative of
independent-contractor status.”67 Plaintiffs make no showing in this regard. Instead, Plaintiffs

rely on Karna v. BP Corp. (Mot. at 12). In Karna, the court held with regard to skills and

initiative only that “as a matter of economic reality, the mere fact that Karna possessed a unique

skill set does not require finding independent contractor status here.”68 But it is not the “mere

fact” of Plaintiffs’ special skills that makes them independent contractors, but this fact combined

with all the other factors, which entitles Premier to judgment as a matter of law.

        E.     Plaintiffs Controlled Their Own Opportunities for Profit or Loss

       Plaintiffs assert that Premier controlled their opportunity for profit or loss because: (1)

Premier controlled their hours worked; (2) Premier controlled their pay; (3) Plaintiffs made only

“minor additional income” from unrelated work; and (4) Plaintiffs did not share in the losses

allegedly suffered by Premier. (Mot. at 10-12.) The evidence is to the contrary.

       First, Plaintiffs controlled their hours worked because they controlled whether they

accepted or rejected jobs, the length of time they offered services to Premier, and their schedule


65
   See Hickey v. Arkla Indus., Inc., 699 F.2d 748, 752 (5th Cir. 1983) (running a business shows
initiative); see also Donovan v. Dial Am. Marketing, Inc., 757 F.2d 1376, 1387 (3d Cir. 1985).
66
   Eberline v. Media Net, LLC, 636 F. App’x 225, 229 (5th Cir. 2016).
67
   Hopkins, 545 F.3d at 345 (citing Usery 527 F.2d at 1314) (emphasis added).
68
   No. H-12-0101, 2013 WL 1155485, *12 (S.D. Tex. 3/19/13) (emphases added).


                                                 16
at each job worked.69 The mere fact that Plaintiffs worked a 12 hour shift does not prove that

Premier controlled their schedules. For instance, in Carrell, independent contractors were

required to “work the same days and hours as the remainder of [defendant’s] crew, including

taking the same daily break periods.” 998 F.2d at 332-33. Nevertheless, the Fifth Circuit found

the workers were independent contractors because they had a far more important kind of control

– control over whether to accept or reject the job in the first place. Id.

       Second, Plaintiffs claim “[t]here is no evidence of any one of Plaintiffs ever negotiating

his rate of pay or turning down a job.” (Mot. at 11). As shown above, Parrish admitted he

negotiated his pay.70 And it is indisputable that Plaintiffs had the right to accept or reject jobs as
they saw fit.71 Because Plaintiffs negotiated their pay, accepted or rejected work, and controlled

their schedules, this factor weighs in favor of independent contractor status.72

       Third, Plaintiffs’ financial dealings outside of Premier were not “minor” by any stretch.

Beckett earned $201,321 from sources other than Premier in 2014 – about two-thirds of his

income that year. (Beckett Dep. 65:5-24, Ex. 3.) And Ellestad’s company invested in another

business that allowed him to take a loss on his taxes despite receiving over $190,000 from

Premier. (Ellestad Dep. 48:17-23, Ex. 3.)

       Fourth, Plaintiffs argue they were employees because they “did not have to return pay if a

job was completed in less time than expected” and they were not required to market for Premier.


69
   Parrish Dep. at 134:10-135:5, 216:4-23, 248:11-21, 253:13-256:2, Ex. 33; Alfaro Dep. at
220:20-23, 151:19-154:4; Beckett Dep. at 43:3-9, 145:22-146:7; Ellestad Dep. 80:20-81:11,
135:14-16; Geoffroy Dep. at 35:20-36:2, 93:18-20; Kennedy Dep. 75:16-76:11; Oliver Dep. at
66:4-7, 86:16-25, 112:4-12, 117:18-14; Menard Dep. 264:4-22; Schmidt Dep. II at 76:7-10;
Menard Dec. ¶ 3; Mims Dec. ¶ 3.
70
   Parrish Dep. at 140:19-141:4, 142:13-144:11; see also Oliver Dep. at 112:4-12, 117:18-14.
71
   Id.; Ellestad Dep. at 80:20-81:11, 135:14-16; Menard Dep. at 53:15-54:6, 264:4-22; Alfaro
Dep. at 151:19-154:4; Beckett Dep. at 43:3-9, 129:8-130:2; Kennedy Dep. at 75:16-76:11; see
also Oliver Dep. at 66:4-7; Geoffroy Dep. at 35:20-36:2; 93:18-20; Menard Dec. ¶ 3.
72
   Karna v. BP Corp. North America, Inc., No. H-12-0101, 2013 WL 1155485, at *10 (S.D. Tex.
Mar. 19, 2013) (factor shows IC status where worker can “control how much he earned from
working for the defendant”) (citing Herman v. Express Sixty-Minutes Delivery Svc., Inc., 161
F.3d 299, 304 (5th Cir. 1998); Hickey, 699 F.2d at 750, 752).


                                                  17
(Mot. at 12.) But, Plaintiffs were paid only for those days they worked.73 As a result, there would

be no pay to return. Plaintiffs also argue that like “true employees, Premier did not share costs or

losses with its IC DDs.” (Mot. at 12). As an initial matter, only an independent contractor could

realize a “profit” or “loss.” The fact that Plaintiffs’ profits and losses did not move in lockstep

with Premier’s shows that Premier and Plaintiffs were independent economic entities.

       Plaintiffs ignore the fact that they controlled their own profits by managing their own

costs. For instance, in Carrell, the defendant controlled welders’ hours and hourly pay, but the

welders’ year-end profit/loss depended on their ability to find work and minimize work-related

costs. 998 F.2d at 333-34. Likewise, in Thibault, the plaintiffs were independent contractors

where their profits depended on their ability to generate revenue and control costs. Thibault, 612

F.3d at 848. Here, Plaintiffs alone controlled their costs because they decided: what vehicles they

used; what tools they used; what equipment they bought; what office supplies they bought; food

and lodging costs; insurance costs; and cell phone and internet costs.74 As a result, Plaintiffs
sometimes reported a profit, and sometimes reported a loss on their taxes. Id.

       Plaintiffs had sufficient control over their schedules to focus on other business ventures,

often taking weeks off between jobs.75 Ellestad was able to work on his company’s goat farm,

and others of Premier’s IC DDs ran other businesses in addition to their DD consulting firms.

(Richard Decl. ¶ 4; Raspberry Decl. ¶ 4.) Plaintiffs could also develop their own goodwill with

Premier and/or its clients.76 Thus, each Plaintiff’s profits depended in part on his own ability to

find work. Thus, this factor weighs in favor of Plaintiffs’ independent contractor classification.

        F.     Other Factors Also Weigh in Favor of Independent Contractor Status

73
   Parrish Dep. at Exs. 8-9; Alfaro Dep. at Ex. 5, 12; Beckett Dep. at Exs. 12, 14; Ellestad Dep. at
Exs. 13, 15; Robins Dep. at Ex. 6; Schmidt Dep. II at 50:5-13.
74
   Parrish Dep., Exs. 1, 3, 5; Ellestad Dep., Exs. 3, 4; Alfaro Dep., Ex. 2; Beckett Dep., Ex. 4.
75
   Parrish Dep. 129:2-21, Ex. 5; Menard Dep. 259:15-25; Alfaro Dep. 197:17-22; Beckett Dep.
130:13-22, Exs. 3-5; Ellestad Dep. 71:25-72:6, Ex. 3; Robbins Dep. 127:25-128:21. Mack, 2012
WL 1067398 at *4; see also Gate Guard, 2013 WL 593418 at *8 (gate attendants could take
other jobs “during the extended periods of time they have off between jobs”).
76
   Parrish Dep. 188:3-189:24; Robbins Dep. 135:16-136:3; Menard Dep. 269:1-14.


                                                 18
       Plaintiffs agreed to their independent contractor status, which mirrors economic reality.77

In fact, they swore under oath to the IRS that they were independent contractors.78 And Parrish

still agrees that he was an independent contractor.79

       Further, DDs commonly work as independent contractors in the oilfield.80 In Gate Guard,

the fact that gate attendants were commonly independent contractors weighed in favor of

independent contractor status.81 Here, fluctuations in the oil industry, combined with the high

skill level required to do directional drilling, makes it common for oilfield services companies

like Premier to engage independent contractors to satisfy project-specific needs. Having some

employees “and engaging others as independent contractors as needed when and where customer

demand increases” is “an eminently reasonable business practice.”82 Thus, industry standard
supports Plaintiffs’ status as independent contractors.

       Moreover, Plaintiffs are not the kind of low-wage workers the FLSA was designed to

protect.83 Their revenues are staggering: (1) Parrish made $230,033 in 2013, $279,777 in 2014,

and $174,032 in 2015; (2) Alfaro made $102,000 in 2015; (3) Beckett made $314,691 in 2014

and $337,809 in 2015; (4) Ellestad made $253,333 in 2014 and $292,164 in 2015; and (5)

Robbins made $111,800 in 2015.84 This level of compensation befits Plaintiffs’ roles as CEOs of

their own businesses – it does not show any level of economic dependence on Premier.

77
   Ellestad Dep., Exs. 1, 2; Robbins Dep., Exs. 4, 5; Alfaro Dep., Ex. 7. See Gate Guard, 2013
WL 593148 at *11 (citing Hopkins, 545 F.3d at 346).
78
   See Thibault, 612 F.3d at 845-46 (independent contractor agreement is relevant); Gate Guard,
2013 WL 593418 at *11 (contract was relevant where it “mirror[ed] economic reality”); see also
Carrell, 998 F.2d at 334 (plaintiffs were aware of independent contractor status).
79
   Parrish Dep. at 37:7-12, 124:7-13.
80
   See Gate Guard, 2013 WL 593418 at *11-12 (industry standards are relevant).
81
   Id.; Mid–Continent Cas. Co. v. Davis, 2011 WL 13727, *4 (N.D. Tex. 1/3/11) (industry
standard to treat workers as independent contractors); Trustees of the Mich. Reg. Council of
Carpenters Emp. Benefits Fund v. Fox Bros. Co., 2005 WL 3579173, *6 (E.D. Mich. 12/27/05).
82
   Smith v. Keypoint Gov’t Solutions, Inc., 2016 WL 7324606, *2 (D. Colo. 12/16/16).
83
   Usery, 527 F.2d at 1311 (citation omitted).
84
   Parrish Dep. 135:19-136:1, Ex. 8; Ellestad Dep. 178:5-13, Ex. 13; Robbins Dep. Ex. 6; Alfaro
Dep. 219:10-14, Ex. 11; Beckett Dep. 133:22-134:5, Ex. 14.


                                                19
III.   PREMIER ACTED IN GOOD FAITH

       Liquidated damages should be eliminated when the employer shows it acted in good faith

and had reasonable grounds to believe it properly classified plaintiffs.85 Good faith has both a

subjective and objective component.86 Here, there is no dispute that Premier believed that it

complied with the FLSA.87 Moreover, Premier considered Plaintiffs to be independent

contractors based on its analysis of Plaintiffs’ relationship to the company, Plaintiffs’

representation that they were in business for themselves, a survey of similar oilfield companies

to establish industry standards, and advice of legal counsel.88 While Plaintiffs argue that any one

of these steps alone is insufficient, that Premier took all such steps in determining Plaintiffs’

classification clearly shows its belief was objectively reasonable. Thus, summary judgment must

be denied to Plaintiffs on Premier’s good faith defense.89
                                         CONCLUSION

       Plaintiffs have failed to present undisputed material facts supporting their claim for

damages under the FLSA. Rather, the undisputed facts show that Plaintiffs operated their own

independent DD consulting firms and were in business for themselves. By their own admission,

Plaintiffs were independent contractors of Premier. Accordingly, Plaintiffs have failed to meet

their burden as a summary judgment movant of showing that the undisputed material facts entitle

them to judgment as a matter of law. The Court should deny Plaintiffs’ Motion in its entirety.


85
   See 29 U.S.C. § 260; Reich v. Tiller Helicopter Svcs., Inc., 8 F.3d 1018, 1031 (5th Cir. 1993).
86
   See Mireles v. Frio Foods, 899 F.2d 1407, 1414 (5th Cir. 1990).
87
   Geoffroy Dep. 73:4-14; Kennedy Dep. at 156:10-12; Schmidt Dep. II at 54:10-20, 165:15-24.
88
   (Schmidt Dep. II at 25:25-26:8, 27:5-12, 29:22-34:3, 54:2-9, 55:21-56:1.) While Premier did
not seek legal counsel until Plaintiffs’ counsel first sued Premier, in 2015, the reliance on
counsel’s advice thereafter is relevant to Plaintiffs’ continued classification and illustrates the
validity of Premier’s subjective belief that it complied with the FLSA. See Burns v. Blackhawk
Mgmt. Corp., 494 F. Supp. 2d 427, 436 (S.D. Miss. 2007) (post hoc investigation confirming
classification is evidence of good faith belief in original classification).
89
    Because summary judgment should be denied as to Plaintiffs’ underlying claims, summary
judgment as to damages should also be denied. Also, Plaintiffs, who only provide the end results
of their calculations and not the underlying data, have entirely failed to carry their burden of
proving they are entitled to judgment as a matter of law. See Chapman, 2012 WL 3614187, *2.


                                                20
This 18th day of August, 2017.   By:    s/ Annette A. Idalski
                                        Annette A. Idalski
                                        Texas Bar No. 00793235
                                        Peter N. Hall, pro hac vice
                                        CHAMBERLAIN, HRDLICKA, WHITE
                                        WILLIAMS & AUGHTRY
                                        191 Peachtree Street, N.E., 46th floor
                                        Atlanta, GA 30303-1747
                                        Tel: (404) 658-5386
                                        annette.idalski@chamberlainlaw.com
                                        peter.hall@chamberlainlaw.com

                                        Counsel for Defendant Premier
                                        Directional Drilling, L.P.




                                   21
                                 CERTIFICATE OF SERVICE

        I hereby certify that on this day I have electronically filed the foregoing with the Clerk of
Court via the CM/ECF system which will send notification to all parties and/or counsel of
record, including:

                Michael A. Josephson                    Richard J. Burch
                Andrew W. Dunlap                        Matthew Scott Parmet
                Lindsay R. Itkin                        Bruckner Burch PLLC
                Jessica M. Bresler                      8 Greenway Plaza, Suite 1500
                Josephson Dunlap Law Firm               Houston, TX 77046
                11 Greenway Plaza, Suite 3050           rburch@brucknerburch.com
                Houston, TX 77046                       mparmet@brucknerburch.com
                mjosephson@mybackwages.com
                adunlap@mybackwages.com
                litkin@mybackwages.com
                jbresler@mybackwages.com


        Respectfully submitted this 18th day of August, 2017.

                                              CHAMBERLAIN, HRDLICKA, WHITE,
                                              WILLIAMS & AUGHTRY

                                                  s/ Annette A. Idalski
                                                  Annette A. Idalski




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